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                       EXHIBIT W
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                                                          UNITED STATES DISTRICT COURT
                                                         NORTHERN DISTRICT OF NEW YORK
                                                               CASE NO. 6:13-cv-1178

                                                        DEFENDANT EXHIBIT NO.   D-11
                                                        DATE ENTERED ___________________

                                                          LAWRENCE K. BAERMAN, CLERK
                                                        BY:_______________________________
                                                        Deputy Clerk
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                          The company (a mutual insurance company herein called the company) indicated in the declarations

    In consideration of the payment of the premium, in reliance upon the state-                 water course or body of water; but this exclusion does not apply if such
    ments in the declarations and subject to all the terms of the policy, agrees                discharge, dispersal, release or escape is both sudden and accidental;
    with the named ;inured as follows:
                                                                                           (e) to advertising offense claimed for
     I. COVERAGE — EXCESS LIABILITY                                                            (1) failure to perform any contract
    To pay on behalf of the insured all sums in excess of the retained limit                   (2) o mistake in the advertised price or an incorrect description of any
     which the insured shall become legally obligated to pay, or with the consent                    article or commodity
     of the company, agrees to pay, direct or consequential because of:                        (3) infringement of a patent, registered trademark, service mark or
    (a) personal injury                                                                              trade name of goods or services sold, offered for sale or advertised,
                                                                                                      but this shall nor retote to titles or slogans;
    (b) property damage,or
    (c) advertising offense                                                                (f) to personal injury or property damage arising out of the ownership,
                                                                                                maintenance, operation, use, loading or unloading of
    to which this policy applies and caused by an occurrence during the policy                 (1) a watercraft over 50 feet in length, if the occurrence takes place
     period anywhere in the world.                                                                   away from premises owned by, rented to or controlled by the named
    II. DEFENSE — DEFENSE COSTS — INVESTIGATION — ASSISTANCE                                         insured, or
        A ND COOPERATION                                                                       (2) an aircraft
                                                                                                if such watercraft or aircraft is owned or chartered without crew by or on
     With respect to any occurrence not covered by the policies listed in the                   behalf of the named insured; but this exclusion shall not apply:
    schedule of underlying insurance or any other insurance collectible by the
    insured, but covered by the terms and conditions of this policy (including                   (1) to liability arising out of operations performed by independent con-
    damages wholly or portly within the amount of the retained lima), the                            tractors, or
    company shall:                                                                             (ii) to liability for personal injury to any employee of the insured
                                                                                                     arising out of and in the course of his employment by the insured
    (a) defend any suit against the insured alleging personal injury, prop-                          (subject to exclusion (a)),
        erty damage, or advertising offense, even if such suit is groundless,
        false or fraudulent; but the company may make such investigation,                      (iii) insofar as coverage is provided for such by policies listed in the
        negotiation and settlement of any claim or suit as it deems expedient;                       schedule of underlying insurance;
    (b) pay all premiums on bonds to release attachments for an amount not in              (g) to property damage to
        excess of the applicable limit of liability of this policy, all premiums on            (1) property owned by the insured
        appeal bonds required in any such defended suit, but without any obli-                 (2) property rented 'to, occupied or used by, or in the care, custody,
        gation to apply for or furnish any such bonds;                                               control of the insured but only to the extent the insured provides
    (c) pay all expenses incurred by the company, all costs taxed against the                        or is under contract to provide insurance therefore;
        insured in any such suit and all interest accruing after entry of judg-            (h) with respect to premises alienated by the name insured, work per-
        ment until the company has paid or tendered or deposited in court such                  formed by or on behalf of the named insured or the insured's prod-
        part of such judgment as does not exceed the limit of the company's                     ucts,
        liability thereon;                                                                     (1) to any property-damage to such premises, work or products which
    (d) reimburse the insured for all reasonable expenses, including loss of                          arises out of any port or portion thereof or out of any materials,
        earnings not to exceed $50 a day incurred at the company's request;                           parts or equipment furnished in connection therewith;
        the amounts so incurred, except settlements of claims and suits, are pay-              (2) to loss of use of tangible property which has not been physically
        able by the company in addition to the applicable limit of liability of this                  injured or destroyed resulting front
        policy;
    (e) the insured agrees to arrange for the investigation, defense or settle-
         ment of any such claim or suit in any country where the company may be
                                                                                                     (i) a delay in or lock of performance by or on behalf of the named
                                                                                                           insured of any contract or agreement, or
                                                                                                    (ii) the failure of the insured's products or such work to meet the
                                                                                                                                                                         -)
         prevented by law from carrying out this agreement; the company will                               level of performance, quality, fitness, or durability warranted or
         pay defense expenses incurred with its written consent in addition to its                         represented by the named insured;
         applicable limit of liability under this policy and will promptly reimburse                  but part (2) of exclusion (h), does not apply to loss of use of other
         the insured For its proper shore, subject to its applicable limit of liabil-                 tangible property resulting from the sudden and accidental physical
         ity under this policy, of any settlement above the retained limit made                       injury to or destruction of the insured's products or such work after
         with the company's written consent;                                                          such products or work have been put to use by any person or organ-
    (f) the company shall hove the right to associate at its own expense with                         ization other than an insured;
         the insured or any underlying insurer in the investigation, defense or                (3) to damages claimed for the withdrawal, inspection, repair, replace-
         settlement of any claim or suit which, in the company's opinion, may                          ment or loss of use of such products or work or of any property of
         require payment hereunder; the insured, at the company's request,                            which such products ar work form a port, if such products, work or
        shall assist and cooperate in every way with respect to the handling of                       properly are withdrawn from the market or from use because of any
         a ll claims or suits and the enforcement of all rights of salvage, contribu-                  known or suspected defect or deficiency therein;
         tion or indemnity that may affect the company's obligations under this            (i) to personal injury or property damage
         policy;
                                                                                                (1) with respect to which an insured under this policy is also an insured
    (g) the insured agrees to reimburse the company promptly for amounts                               under a nuclear energy liability policy issued by Nuclear Energy
          paid in settlement of claims or suits to the extent that such amounts are                    Liability Insurance Association, Mutual Atomic Energy Liability Un•
         within the insured's retention as stated in the declarations;                                 de:writers or Nuclear Insurance Association of Canada, or would be
    (h) this policy does not apply to defense costs covered by policies of under-                      on insured under any such policy but for its termination upon ex-
         lying insurance.                                                                              haustion of its limit of liability;
                                                                                                (2) resulting from the hazardous properties of nuclear material and
     III. EXCLUSIONS                                                                                   with respect to which
     This policy does not apply:                                                                       (i) any person or organization is required to maintain financial pro-
                                                                                                            tection pursuant to the Atomic Energy Act of 1954, or any law
     (a) to any obligation for which the insured or any company as its insurer                              amendatory thereof, or
          may be held liable under any workmen's compensation, unemployment
          compensation, disability benefits law or any similar law; this exclusion,                   (ii) the insured is, or had this policy not been issued would be,
          however, shall not apply to liability of others assumed by the insured                            entitled to indemnity from the United States of America, or any
          under a contract or agreement;                                                                    agency thereof, under any agreement entered into by the
                                                                                                            United States of America, or any agency thereof, with any per-
     (b) to any employee, as on insured, with respect to personal injury to                                 son or organization; or
          another employee of the some employer injured in the course of such                   (3) resulting From the hazardous properties of nuclear material, if
          employment, but this exclusion shall not apply to personal injury with                        (i) the nuclear material fa) is at any nuclear facility owned by,
          respect to which insurance is afforded the insured by underlying insur-                           or operated by or on behalf of, on insured or fb) has been dis-
          ance;                                                                                             charged or dispersed therefrom;
     (c) to liability assumed by the insured under a contract or agreement if the                           the nuclear material is contained in spent fuel or waste at       )
          occurrence is prior to the time such contract or agreement was effective;                         any time possessed, handled, used, processed, stored, trans- ~J
     (d) to personal injury or property damage arising out of the discharge,                                 ported or disposed of, by or on behalf of an insured; or
          dispersal, release or escape of smoke, vapors, soot, fumes, acids, al-                      (iii) the personal injury or property damage arises out of the fur-
          kalies, toxic chemicals, liquids or gases, waste moterials ar other irritants,                     nishing by on insured of services, materials, parts or equipment
          contaminants or pollutants into or upon land, the atmosphere or any                                in connection with the planning, construction, maintenance,
                                                                                                                                                   GPA 00857
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             operation or use of any nuclear facility, but if such facility is     (d) Insured includes the named insured as stated in the declarations and
             located within the United States of America, its territories or           also includes any executive officer, director, stockholder or employee
             possessions or Canada, this exclusion (iii) applies only to prop-         while acting within the scope of his duties as such.
             erty damage to such nuclear facility and any property there-              If the named insured is a partnership, the unqualified word "insured"
             at                                                                        also includes any partner thereof but only with respect to his liability as
          As used in this exclusion (i):                                               such.
        "hazardous properties" include radioactive, toxic or explosive                 If the named insured is on individual, the unqualified word "insured"
          properties;                                                                  includes the person so designated but only with respect to the conduct of
        "nuclear material" means source material, special nuclear mate-                a business of which he is sole proprietor and also includes the spouse of
          rial or byproduct material;                                                  the named insured with respect to the conduct of such business.
                                                                                       The term insured also includes any other person or organization who is
        "source material," "special nuclear material," and "byprod•
          uct material" have the meanings given them in the Atomic Energy              on insured under any policy of underlying insurance, subject to all the
          Act of 1954 or in any low amendatory thereof;                                limitations upon coverage under such policy other than the limits of the
                                                                                       underlying insurer's liability.
        "spent fuel" means any fuel element or fuel component, solid or
                                                                                       The insurance afforded applies separately to earls insured against
          liquid, which has been used or exposed to radiation in a nuclear
                                                                                       whom claim is made or suit is brought, but the inclusion herein of more
          reactor;
                                                                                       than one insured shall not operate to increase the limits of the com-
        "waste" means any waste material (1) containing by-product                     pany's liability.
          material and (2) resulting from the operation by any person or
                                                                                   (e) Occurrence means an occident, including continuous or repeated expo-
         organization of any nuclear facility included within the definition
         of nuclear facility under paragraph (a) or (b) thereof;                       sure to conditions, which results in personal injury, property damage
                                                                                       or advertising offense which is neither expected nor intended from
        "nuclear facility" means                                                        the standpoint of the insured.
         (a) any nuclear reactor,
                                                                                   (f) Personal injury: The words "personal injury," as used in this policy,
         (o) any equipment or device designed or used for (1) separating               shall mean:
               the isotopes of uranium or plutonium;(2) processing or utilizing
               spent fuel, or (3) handling, processing or packaging waste,             (a) bodily injury, mental injury, menial anguish, shock, sickness, or
                                                                                            disease or death resulting therefrom;
         (c) any equipment or device used for the processing. fabricating or
               alloying of special nuclear material if at any lime the total           (b) false arrest, false imprisonment, false eviction, or detention;
               amount of such material in the custody of the insured at the            (c) malicious prosecution, invasion of rights of privacy, humiliation,
               premises where such equipment or device is located consists of                libel, slander, defamation of character, infringement of copyright,
               or contains more than 25 grams of plutonium or uranium 233 or                 potent;, title or slogan, excluding any such injury included within
               any combination thereof, or more than 250 grams of uranium                    the definition of advertising offense.
               235,                                                                (g) Products-completed operations hazard means (1) the insured's
         (d) any structure, basin, excavation, premises or place prepared or            products, if the personal injury or property damage occurs after
               used for the storage or disposal of waste,                              possession thereof has been relinquished to others, and (2) operations
          and includes the site on which any of the foregoing is located, all          performed 6y or on behalf of the named insured (wherever performed
          operations conducted on such site and all premises used for such             and whether or not invoicing the insured's products), if the personal
          operation;                                                                    injury or property damage occurs after such operations have been
         "nuclear reactor" means any apparatus designed or used to sus-                completed or abandoned. Operations which may require further service
          tain nuclear fission in a self-supporting chain reaction or to contain       or maintenance work, or correction, repair or replacement because of
          a critical mass of fissionable material;                                     any defect or deficiency, but which ore otherwise complete, shall be
         "property damage" includes all forms of radioactive contamino-                deemed completed.
          nation of property;                                                      (h) Insured's products means goods or products manufactured, sold,
(j) to personal injury or property damage for which liability is assumed                handled or distributed by the name insured or by others trading under
     under any contract or agreement, if such injury or damage is due to                his name.
     war, whether or nor declared, civil war, insurrection, rebellion or revolu-   (i) Property damage means (1) physical injury to or destruction of tangi-
   . tion, or to any act or condition incident to any of the foregoing.                 ble property which occurs during the policy period, including the loss of
                                                                                        use thereof at any time resulting therefrom, or (2) loss of use of tangible
 IV. LIMITS OF LIABILITY                                                                property which has not been physically injured or destroyed provided
                                                                                        such loss of use is caused by an occurrence during the policy period, or
 1. Regardless of the number of persons or organizations who are insureds
                                                                                       (3) injury to intangible property•which occurs during the policy period
    under this policy and regardless of the number of claims made and suits             sustained by an organization as a result of false eviction, malicious
    brought against any and all insureds;                                               prosecution, libel, slander or defamation, but excluding any such dam-
(a) the total limit of the company's liability from any one occurrence shall            age included within the definition of advertising offense.
     be the occurrence limit stated in the declarations;                           (j) Retained limit means as to each occurrence with respect to which
(b) the company's limit shall be further limited to the amount stated in the           insurance is afforded under this policy:
     declarations as the aggregate limit with respect to all loss caused by one        (1) if an underlying policy is also applicable or would be applicable
     or more occurrences during each annual policy period and arising out                  but for breach of policy conditions; the relevant "each person,"
     of                                                                                   "each accident," "each occurrence" or similar limit of liability
    (1) the products-completed operations hazard                                           stated therein (less any reduction thereof by reason of an overriding
    (2) all property damage                                                                aggregate limit of liability) plus all amounts payable under other
                                                                                           insurance, if any;
    (3) all advertising offense
    (4) occupational disease sustained by employees of the insured                     (2) if any underlying policy otherwise applicable is inapplicable by
                                                                                           reason of exhaustion of an aggregate limit of liability; all amounts
    (5) all professional liability.                                                        payable under other insurance, if any; or
2. For the purpose of determining the limits of the company's liability                (3) if neither paragraphs (1) or (2) above apply and
(a) all personal injury and property damage arising out of continuous                      (a) the insured has other insurance; oll amounts payable under
    or repeated exposure to substantially the some general conditions; or                       such other insurance, but in no event less than the amount stated
(b) all advertising offense involving one or more causes of injury, includ-                     in the declarations as the insured's retention, or
    ing all reproductions or repetitions thereof, regardless of the number and              (6) the insured has no other insurance; the amount stated in the
    kind of media used;                                                                         declarations as the insured's retention.
shall be considered as the result of one and the same occurrence.                       For the purpose of determining the retained limit, "other insurance"
                                                                                        means any other valid and collectible insurance (except under an under-
 V. DEFINITIONS                                                                         lying policy) which is available to the insured, or would be available to
(a) Advertising offense means damages because of libel, slander, defa-                  the insured in the absence of this policy, it being the intention that this
    mation, infringement of copyright or title or slogan, piracy, unfair com-           policy shall not apply Linder or contribute with such other insurance
    petition, idea misappropriation or invasion of rights of privacy arising            unless the company's agreement thereto is endorsed hereon.
    out of the insured's advertising activities.
(b) Automobile means a land motor vehicle, trailer or semi-trailer designed         VI. CONDITIONS                                         GPA 00858
    for travel on public roads, including any equipment attached thereto.          (a) Premium: The premium for this policy is stated in the declarations and
(c) Bodily injury includes sickness or disease or death resulting at any               is not subject to adjustment unless otherwise indicated by an endorse-
    time therefrom.                                                                    ment to this policy.
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     The company rnoy examine and audit the named insured's books and (h) Assignment: Assignment of interest under this policy shall not bind the
     records at any time during the policy period and extensions thereof and            company until its consent is endorsed hereon. If, however, the insured
     within three years after the final termination of this policy, as far as they      shall die or be adjudged bankrupt or insolvent while this policy is in
     relate to the subject matter of this insurance.                                    force, this policy, unless cancelled, shall cover the insured's legal rep-
(b) Notice of Occurrence: Upon the happening of any occurrence rea-                     resentative as Insured, but only while acting within the scope of his
     sonably likely to involve any of the coverages of this policy, written             duties as such.
     notice containing particulars sufficient to identify the insured and also          Cancellation: This policy may be cancelled by the named insured by
     reasonably obtainable information with respect to the time, place and              surrender thereof to the company or any of its authorized agents or by
     circumstances thereof, and the names and addresses of the injured and               mailing lo the company written notice stating when thereafter the can-
     of available witnesses, shall be given by or for the insured to the com-           cellation shall be effective. This policy may be cancelled by the company
     pany or any of its authorized agents as soon as practicable.                       by mailing to the named insured at the address shown in this policy
                                                                                        written notice stating when not less than thirty days thereafter such con-
(c) Appeals: In the event the insured or the insured's underlying insur-                collation shall be effective. The mailing of notice as aforesaid shall be
     ers elect not to appeal a judgment which appears to the company as                 sufficient proof of notice. The time of the surrender or the effective date
     likely to involve payment under this policy, the company may elect to              and hour of cancellation stated in the notice shall become the end of the
     make such appeal at its own cost and expense, and shall be liable for              policy period. Delivery of such written notice either by the named
     the taxable costs, disbursements and interest incidental to the appeal,            insured or by the company shall be equivalent to mailing.
     but in no event shall the liability of the company for any one occurrence
     exceed the limit of liability set forth in this policy plus such incidental         If the named insured cancels, earned premium shall be computed in
     costs, disbursements and interest.                                                 accordance with the customary short rate table and procedure. If the
                                                                                        company cancels, earned premium shall be computed pro rota. Premium
(d) Action Against Company: No action shall lie against the company                     adjustment may be mode either at the time cancellation is effected or as
     unless, as a condition precedent thereto, the insured shall have fully             soon as practicable after cancellation becomes effective, but payment or
     complied with all the terms of this policy, nor until the amount of the            tender of unearned premium is not a condition of cancellation.
     insured's obligation to pay shall have been finally determined either               If this policy insures more than one named insured, cancellation may be
     by   judgment   against the insured   of ter actual trial or by written agree.
                                                                                        effected by the first of such named insureds for the account of all the
     ment of the insured, the claimant and the company.                                 named insureds; notice of cancellation by the company to such first
     Any person or organization or the legal representative thereof who has             named insured shall be deemed notice to all insureds and payment of
     secured such judgment or written agreement shall thereafter be entitled            any unearned premium to such first named insured shall be for the
     to recover under this policy to the extent of the insurance afforded by this       account of all interests therein.
     policy. Nothing contained in this policy shall give any person or organi-
     zation any right to join the company as a codefendant in any action                Maintenance of Underlying Insurance: Each policy described in the
     against the insured to determine the insured's liability.                          declarations shall 6e maintained in full effect during the currency of this
     Bankruptcy or insolvency of the insured or of the insured's estate shall           policy. except for any reduction of the aggregate limit or limits cars-
     not relieve the company of any of its obligations hereunder.                       leaned therein solely by payment of claims arising out of occurrences
                                                                                         taking place during the period of this policy. Failure of the named
 fel Other Insurance: If other valid and collectible insurance with any                 insured to comply with the foregoing shall not invalidate this policy
     other insurer is available to the insured covering a loss also covered by          but in the event of such failure, the company shall be Fable only to the
     this policy, other than insurance that is in excess of the insurance af-           extent that it would hove been liable hod the named insured complied
     forded by this policy, the insurance afforded by this policy shall be in            therewith.
     excess of and shall not contribute with such other insurance.                       Upon notice that any aggregate limit of liZsbility under any policy of
(f) Subrogation: The company shot! be subrogated to the extent of any                    underlying insurance has been exhausted, the named insured shall
     payment hereunder to all the insured's rights of recovery therefor; and            immediotely make all reasonable efforts to reinstate such limits.
     the insured shall do everything necessary to secure such rights. Any               The named insured shall give the company written notice as soon as
     amounts so recovered shall be apportioned as follows:                               practicable of any change in the scope of coverage or in the amount of
                                                                                         limits of insurance under any underlying insurance, and of the termina-
     Any interest (including the insured) having poid an amount in excess of            tion   of any coverage or exhaustion of aggregate limits of any under-
     the retained limit plus the limit of liability hereunder Shall be reimbursed        lying   insurer's liability.
     first to the extent of actual payment. The company shall be reimbursed
     next to the extent of its actual payment hereunder. If any balance then (k) Declarations: By acceptance of this policy the named insured agrees
     remains, it shall be applied to reimburse the insured or any underlying             that the statements in the declarations are his agreements and repre-
     insurer, as their interests may appear. The expenses of all such recovery           sentations, that this policy is issued in reliance upon the truth of such
      proceedings shall be apportioned in the ratio of respective recoveries.             representations and that this policy embodies all agreements existing
      If there is no recovery in proceedings conducted solely by the company,             between himself and the company or any of its agents relating to this
     it shall bear the expenses thereof. The insured shall do nothing after              insurance.
     loss to prejudice such rights.                                                 (I) Mutuals — Participation Clause Without Contingent Liability:
(g) Changes: Notice to any agent or knowledge possessed by any agent                      No Contingent Liability: This pokey is non-assessable. The policyholder
     or by any other person shall not effect a waiver or a change in any part             is a member of the company and shall participate, to the extent and
     of this policy or estop the company from asserting any rights under the              upon the conditions fixed and determined by the Board of Directors in
      terms of this policy; nor shall the terms of this policy be waived or               accordance with the provisions of law in the distribution of dividends so
     changed, except by endorsement issued to form a part of this policy.                fixed and determined.




                 UTICA MUTUAL INSURANCE COMPANY                                                GRAPHIC ARTS MUTUAL INSURANCE COMPANY
 Mutuals — Membership and Voting Notice: The insured is notified                    Mutuals — Membership and Voting Notice: The insured is notified that
 that by virtue of this policy, he is a member of the Utica Mutual Insurance        by virtue of this policy, he is a member of the Graphic Arts Mutual Insurance
 Company of New Hartford, New York, and is entitled to vote either in               Company of New Hartford, New York, and is entitled to vole either in person
 person or by proxy at any and all meetings of said Company. The Annual             or by proxy at any and all meetings of said Company. The Annual Meetings
 Meetings are held in its Home Office, New Hartford, New York, on the fourth        are held In its Home Office, New Hartford, New York, on the third Monday
 Monday of February, in each year, at 1:30 o'clock P.M.                             of April, in each year, at 4:00 o'clock P.M.
 IN WITNESS WHEREOF, the Utica Mutual Insurance Company has caused                  IN WITNESS WHEREOF, the Graphic Arts Mutual Insurance Company has
 this policy to be signed by its president and secretary at New Hartford, New       caused this policy to be signed by its president and secretory at New Han-
 York, and countersigned on the declarations page by a duly authorized              ford, New York, and countersigned on the declarations page by a duly
 representative of the Company.                                                     authorized representative of the Company.




                                                                       President                                                                          President   •

                                                                                                                                                  00859

                                                             Secretary Pro Tem              a                    CI
                                                                                                                  1                          PA Secretary

                                                                                                                                              U/G-P-UL Ed. 11-74
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Ujc UTICO mutual insurance Company                                          Li Graphic Arts Mutual Insurance Company
                                                         N EW HARTFORD, NEW YORK

                                                    U MBRELLA LIABILITY POLICY                                          NO. LU            4799
PRODUCER                                                                                      PRODUCER'S NO.                             RENEWAL OF POL. NO.

 Marsh Pe       MpTjmnnarL, Inc.                                                                J3526                                     S aP1J2

 DECLARATIONS:
 ITEM      NAMED INSURED


  1
              Goulds Pumps, Inc.
           ADDRESS             NO.        STREET                            CITY                            COUNTY                        STATE


               240 Fall St., Seneca Falls, Seneca Co., N. Y. 13148
           B USINESS OF INSURED:                                                        NAMED INSURED IS:

                                                                                             0 INDIVIDUAL          ca CORPORATION             0 PARTNERSHIP
              Pump Mfg.
 ITEM      POLICY PERIOD:


  2              FROM                            1/1              19 78                  TO
                                        12:0IA.M., standard time at the address of the named insured as stated herein.
                                                                                                                                        1/1          n    79
 ITEM      RETAINED LIMIT:       ITEM    OCCURRENCE LIMIT:           ITEM               AGGREGATE LIMIT:                ITEM              PREMIUMS;
                                                                                                                                                  MINIMUM

 3       $ 25,000                4      sio,000,000                   5 1 $10,000,000                                    6 $             6,581 PREMIUM
                                                                                                                                                     TOTAL
 ITEM
                                             Basis for premium is                                                                 $     65,8o6       ADVANCE
 7         SCHEDULE OF UNDERLYING INSURANCE: judgement based upon                                                                 $
                                                                                                                                                    DUE EACH
                                             t r...pE, nt Ldal-c_                                                                               A NNIVERSARY

               TYPE OF POLICY                  POLICY                                             POLICY                    LIMITS OF LIABILITY
                                                                      INSURER
             COVERAGE AFFORDED                N UMBER                                             PERIOD             BODILY INJURY    PROPERTY DAMAGE

        PUBLIC LIABILITY

                                                                  UMICO
                                        GLA 25439                                              1/1/78-7-.               500
                                                                                                                       CSL
        SPECIAL MULTI-PERIL




        AUTOMOBILE
                                                                  UMICO                        1/1/78-79               500/500                      100
                                        GLA 25918


        AIRCRAFT LIABILITY


        WATERCRAFT LIABILITY


        WORKMEN'S COMPENSATION                                                                                               EMPLOYER'S LIABILITY LIMIT
                                         W   236860-7(p               UMICO
                                         W   236859-7                                          1/1/78-79 $               100,000

        B AILEE'S COVERAGE


        PROFESSIONAL LIABILITY                                                                                        EACH PERSON              AGGREGATE




  ENDORSEMENT(S)
  ATTACHED HERETO:
  COUNTERSIGNED AT:                        DATE:                   By!%1A;1,!•0•1 3,..F.i; I
                                                                                   .I    +
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   U/G-D-UL Ed. 4-77
                                                                      ,/...                                              .


                                                                  INSURED                                       L/                            GPA 00860
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                                                                  (1)
   CONTRACTUAL LIABILITY FOLLOWING FORM ENDORSEMENT

   In consideration of the reduced premium charged, it is agreed that
   the insurance afforded by this policy shall not apply with respect
   to any liability assumed by the insured under any written or
   oral contract or agreement, unless such liability is covered by
   valid and collectible underlying insurance at the limits shown
   in the schedule of underlying insurance, but only for such
   contracts for which coverage is afforded by said underlying
   insurance.




        (The Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)

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  This endorsement. effective
                                         112:01 A.M.. standard time)                                        4799
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Case 6:13-cv-01178-GLS-TWD Document 258-24 Filed 08/05/21 Page 8 of 18




                                                                      (2)

 ARCHITECTS, ENGINEERS OR SURVEYORS PROFESSIONAL LIABILITY EXCLUSION

 In consideration of the reduced premium charged, it is agreed that the

 insurance afforded 'by this policy shall not apply with respect to liabili

 arising out of the rendering of, or the failure to render, professional

 services by or on behalf of the insured, for others, in the insureds

 capacity as an architect, engineer or surveyor, including, but not

 limited to, any negligent act, error, omission or mistake involving the

 preparation of surveys, maps, plans, designs or specifications or

 supervisory inspection or engineering services furnished in connection

 therewith.




       (The Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)


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  Case 6:13-cv-01178-GLS-TWD Document 258-24 Filed 08/05/21 Page 9 of 18



                                                                                                    (3) Revised


It is aGreed that the minimum and deposit premium for the policy period will
be $65,B06. The adjustment rate will be $.321 per $1,000 of sales;
(based on $205,000,000 of sales.)




          (The Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)

    This endorsement, effective   1/1/78                            forms a part of policy No.     LU      4799
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                       Nome and Address of Insured                                                                               ......



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           • Goulds   Pumps, Inc.
               240 Fall St.                                                      Marsh & McLennan, Inc.
               Seneca Falls, N. Y. 13148
                                                                                            Producer No.        U3526             1/23/78 es        3

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           6-E-456 Ed. 7.76                                                                                                               INSURED
Case 6:13-cv-01178-GLS-TWD Document 258-24 Filed 08/05/21 Page 10 of 18




                                                                  (3)
  It is agreed that the minimum and deposit premium for the policy

  period will be                $65,806. The adjustment rate will be $.321 per
  $1,000 of sales; (based on $205,000 of Sales.)




        (The Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)

  This endorsement. effective
                                        112:01 A.M., standard time)
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Case 6:13-cv-01178-GLS-TWD Document 258-24 Filed 08/05/21 Page 11 of 18




                                                                 (4)
                                                    PROPERTY DAMAGE LIMITATION

                                                        PERSONAL PROPERTY

      It is agreed that this policy shall not apply to any liability or

      property damage to personal property

                        (1) owned or occupied by or rented to the insured,

                        (2) used by the insured, or

                        (3) in the care, custody or control of the insured or as
                            to which the insured is for any purpose exercising
                             physical control;

      Wherever used herein, the term "Personal Property" shall mean all

       property other than real property.




         (The Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)

   This endorsement. effective
                                         02:01 A.M.. standard time)
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   is issued by


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           8-E-456 Ed. 7.76                                                                                                      INSURED
Case 6:13-cv-01178-GLS-TWD Document 258-24 Filed 08/05/21 Page 12 of 18




                                                            (5)
                                   PROPERTY DAMAGE LIMITATION

                                                   REAL PROPERTY

 It is agreed that this policy shall not apply to any liability for propert3

 damage to real property

        (1) owned or occupied by or rented to the insured,

        (2) used by the insured, or

            in the care, custody of control of the insured
        (3) the                                                                                              or as to which
                in3 ured is for any purpose exercising                                                  physical control;




                                                                                                                       policy.)
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   This endorsement, effective           112:01 A.M.. standard lintel
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                     Name and Address of Insured

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Case 6:13-cv-01178-GLS-TWD Document 258-24 Filed 08/05/21 Page 13 of 18




                                                                  (6)
                                    PUNITIVE DAMAGES LIMITATION


      It is agreed that this policy does not apply to liability for

      punitive or exemplary damages unless such liability is covered

      by valid and collectible underlying insurance as listed in

      the Schedule of Underlying Insurance, for the full limit shown

      therein, and then only for such hazards for which coverage is

      afforded under said underlying insurance.




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Case 6:13-cv-01178-GLS-TWD Document 258-24 Filed 08/05/21 Page 14 of 18




                                                             (7)
                                AIRCRAFT PRODUCTS EXCLUSION

      It is agreed that this policy shall not apply to any liability
      arising out of aircraft products or reliance upon any
      representation or warranty made with respect thereto, or to any
      liability arising out of the grounding of any aircraft.

      "Aircraft Products" means aircraft (Including missiles or
      spacecraft) and any other goods or products manufactured, sold,
      handled or distributed or services provided or recommended by
      the insured or by other trading under his name for use in the
      manufacture, repair, operation, maintenance or use of any aircraft.

     "Grounding" shall mean the withdrawal of one or more aircraft from
     flight operations or the imposition of speed, passenger or load
     restrictions on such aircraft, by reason of the existence of or
     alleged or suspected existence of any defect, fault or condition
     in such aircraft or any part thereof, sold, handled or distributed
     by the insured or manufactured, assembled or processed by any other
     person or organization according to specifications,plans, suggestions,
     orders or drawings of the insured or with tools, machinery or other
     equipment furnished to such persons or organizations by the insured,
     whether such aircraft so withdrawn are owned or operated by the same
     or different persons or organizations.




                                                     when this endorsement is issued subsequent to preparation of the policy.)
        (The Attaching Clause need be completed only

                                                                     forms a part of policy No.        LU    4799
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 Case 6:13-cv-01178-GLS-TWD Document 258-24 Filed 08/05/21 Page 15 of 18




                                                                    (8)
                                          JOINT VENTURE ENDORSEMENT

1.   It is hereby understood and agreed by the Assured and Underwriters
     that, as regards any liability of the Assured which is insured
     under this policy and arises in any manner whatsoever out of the
     operations or existence of any joint venture, co-venture, joint
     lease, joint operating agreement or partnership (hereinafter
     called "Joint Venture") in which the Assured has an interest,
      the liability of Underwriters under this Policy shall 'be limited
     to the product of (a) the percentage interest of the Assured in
     the said Joint Venture and (b) the total limit of liability
     insurance afforded the Assured 'by this Policy. Where the percentage
     interest of the Assured is said Joint Venture is not set forth in
     writing, the percentage to be applied shall 'be that which would 'be
     imposed by law at the inception of the Joint Venture. Such Percentage
     shall not be increased by the insolvency of others interested in the
     said Joint Venture.

2. It is further understood and agreed that, where any underlying
   insurance(s) have been reduced by a clause having the same effect
   as paragraph (1), the liability of Underwriters under this Policy,
   as limited by paragraph (1) shall be excess of the sum of (a) such
   reduced limits of any underlying insurance(s) and (b) the limits of
   any underlying insurance(s) not reduced.




           (The Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)


     This endorsement. effective                                         forms a part of policy No.    LU 4799
                                           (12:01 A.M., standard time)




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 Case 6:13-cv-01178-GLS-TWD Document 258-24 Filed 08/05/21 Page 16 of 18




It is agreed that effective 2/1/78 the limit of liability is amended to
$25,000,000. The adjustment rate for the policy period is amended to
.427 per $1,000 of sales.

In consideration of the above the total advance premium is amended to read:
From: 65,806. to: 87,583.

Total Net Addl.                 Prem. $21,777.




             (The Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)

    This endorsement, effective         2/1/78
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                         Name and Address of Insured                                                                                              4.9




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              •       Goulds Pumps, Inc.                                                               Marsh & McLennan, Inc.
                      240 Fall St.
                      Seneca Falls, N. Y. 13148
                                                                                                                                 GPA 00870
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 Case 6:13-cv-01178-GLS-TWD Document 258-24 Filed 08/05/21 Page 17 of 18



                                                                                                           (9)
"EXCLUSION OF EMPLOYEE RETIREMENT INCOME SECURITY ACT LIABILITY"

"In consideration of the premium charged, it is agreed that the
insurance afforded by this policy shall not apply with respect to
any liability arising out of the intentional or unintentional
violation or violations of any provision or provisions of the
Employee Retirement Income Security Act of 1974, Public Law 93-406
(comonly referred to as the Pension Reform Act of 1974), or any
amendments thereto."




        (The Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)

   This endorsement. effective
                                   1/1/78                              forms a part of policy No.   LU   4799
                                         112:01 A.M.. standard time)




   isissuedby Utica Mutual Insurance Co., New Hartford, N. Y.
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                                                                                                           'Authorised Representative)

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              Goulds Pumps, Inc.                                                                                                GPA 00871
              240 Fall St.
              Seneca Falls, N. Y.                       13148                              Marsh & McLennan, Inc.

                                                                                                Producer No.          U3526              1/23/78 es


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                        COMMERCIAL UMBRELLA LIABILITY POLICY

                           NEW YORK AMENDATORY ENDORSEMENT


1.   This insurance does not apply to and the company shall not be liable to make any
     payment (including indemnification) for damage, loss or liability on account of
     discrimination because of sex, race, creed, color, or national origin.

2. The first paragraph of Condition (d) action against Company is amended to read
   as follows:


     No action shall lie against the company unless, as the condition precedent
     thereto, the insured shall have fully complied with all the terms of the
     policy, nor until the amount of the insured's obligation to pay shall have
     been finally determined either by judgement against the insured or by written
     agreement of the insured, the claimant and the company.




8-E-1249 Ed. 12-74




                                                                       GPA 00872
